        Case 2:22-cv-01489-ACA Document 58 Filed 05/01/24 Page 1 of 2                  FILED
                                                                              2024 May-01 PM 02:01
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION
 SHARON DORSEY,                          )
                                         )
       Plaintiff,                        )
                                         )
 v.                                      )   Case No.: 2:22-cv-1489-ACA
                                         )
 TRANS UNION, LLC, et al.,               )
                                         )
       Defendants.                       )
                                         )

                      PARTIAL SUMMARY JUDGMENT

      Consistent with the accompanying memorandum opinion, the court GRANTS

IN PART, DENIES IN PART, and RESERVES RULING IN PART. (Doc. 38).

      The court ENTERS SUMMARY JUDGMENT in ICS’s favor to the extent

Plaintiff Sharon Dorsey alleges that ICS violated the the Fair Debt Collections

Practices Act (“FDCPA”), 15 U.S.C. §§ 1692d, 1692e, when ICS attempted to

collect a debt that she did not owe.

      The court DENIES ICS’s motion on the aspect of Ms. Dorsey’s FDCPA claim

that alleges that ICS violated the FDCPA when it called Ms. Dorsey to attempt debt

collection after receiving notice that she disputed the debt. The court REJECTS

many of ICS’s arguments as to Ms. Dorsey’s claim under Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. § 1681s-2(b) and DENIES ICS’s motion on those grounds.
        Case 2:22-cv-01489-ACA Document 58 Filed 05/01/24 Page 2 of 2




      The court RESERVES RULING on ICS’s remaining argument regarding

Ms. Dorsey’s FCRA claim in which ICS asserts the information ICS provided Trans

Union was accurate because Ms. Dorsey’s dispute was based on a legal question

instead of a factual inaccuracy. The court DIRECTS the parties to provide

supplemental briefing as set out in the accompanying memorandum opinion. The

court likewise RESERVES RULING on the aspect of Ms. Dorsey’s FDCPA claim,

in which she alleges ICS violated the FDCPA when it reported and verified the debt

to Trans Union after she disputed the debt because that aspect of her claim implicates

ICS’s argument regarding the FCRA.

       DONE and ORDERED this May 1, 2024.



                                    _________________________________
                                    ANNEMARIE CARNEY AXON
                                    UNITED STATES DISTRICT JUDGE




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